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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

DANIEL W. RUDD,

      Plaintiff,                              Case No. 1:18-cv-124

v.                                            HON. GORDON J. QUIST
                                              MAGISTRATE JUDGE RAY KENT
CITY OF NORTON SHORES,
MAYOR GARY NELUND, MARK MEYERS,
DANIEL SHAW, MATTHEW RHYNDRESS,
MICHAEL WASILEWSKI, JON GALE,
CHRIS MCINTIRE, MELISSA MEYERS,
MICHELLE MCLEAN, JOEL BAAR,
BOLHOUSE, BAAR & HOFSTEE PC.,
WILLIAM HUGHES PLLC, DOUGLAS
HUGHES,

       Defendants.
____________________________________________________________________
Daniel W. Rudd (Pro Se)                      Michael S. Bogren (P34835)
201 S. Lake Ave                              Robert A. Callahan (P47600)
Spring Lake, Michigan 49456                  PLUNKETT COONEY
(231) 557-2532                               Attorneys for Defendants
daniel@stock20.com                           City of Norton Shores, Mayor Nelund, Jon
                                             Gale, Shaw, Rhyndress, Wassilewski, Mark
Michelle M. McLean (P71393)                  Meyers, Douglas Hughes and William Hughes
Richard L. Bolhouse (P29357)                 950 Trade Centre Way, Suite 310
BOLHOUSE, HOFSTEE & McLEAN PC                Kalamazoo, Michigan 49002
Attorneys for Defendants M. Mclean, J. Baar, (269) 226-8822
& Bolhouse, Hofstee & Mclean PC,             mbogren@plunkettcooney.com
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Grandville, Michigan 49418
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rickb@bolhouselaw.com                        Attorney for Melissa Meyers
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                                             85 Campau Ave. NW, Ste 305
                                             Grand Rapids, Michigan 49503-2611
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                                             sschultz@tanisschultz.com
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                                  JOINT STATUS REPORT

A Rule 16 Scheduling Conference is scheduled for September 13, 2018 at 10:00 AM, before the
Honorable Magistrate Judge Ray Kent. Appearing for the parties as counsel will be:

       Plaintiff: Plaintiff, Daniel William Rudd, a non-lawyer, will appear on behalf of himself.

       Bolhouse Law Defendants: Attorney Michelle McLean will appear on behalf of
       Michelle McLean, attorney Joel Baar, and the law firm of Bolhouse, Hofstee, & McLean
       PC (formerly, Bolhouse, Baar, & Hofstee PC.

       Norton Shores Defendants: Attorney Robert A, Callahan, will appear on behalf of the
       City of Norton Shores; Gary Nelund (Mayor); Daniel Shaw (former Chief of Police);
       Mark Meyers (City Manager); Jon Gale (current Chief of Police); Douglas Hughes and
       William Hughes, PLLC (attorneys in private practice who serve as Norton Shores’ City
       Attorney); and Sgt. Matthew Rhyndress and Officer Michael Wassilewski (police officers
       with Norton Shores Police Department).

       Defendant Melissa Meyers: Attorney Steven Daniel Schultz or Attorney Dave Egler
       will appear on behalf of Defendant Melissa Meyers.

1. Jurisdiction: The Court has jurisdiction over Plaintiff’s 42 U.S.C. § 1983 First Amendment
Retaliation claims because federal questions are involved (see 28 U.S.C. § 1331). The Court may
exercise supplemental jurisdiction over state law claims under 28 U.S.C. § 1367(a).

The Bolhouse Defendants object to jurisdiction on the grounds that there is no federal question
since the First Amendment claims lack merit and should be dismissed, leaving only issues of
state law.

2. Jury or Non−Jury: This case is to be tried before a jury.

3. Judicial Availability: The parties do not agree to have a United States Magistrate Judge
conduct any and all further proceedings in the case.

4. Statement of the Case:

Plaintiff: In July of 2013, Plaintiff sought emergency assistance from the Norton Shores Police,
offering evidence that his children were missing and endangered. Plaintiff also alleged that
Attorney Melissa Meyers was involved in an a reckless and illegal effort to prolong the ordeal.
The Officer who received Plaintiff’s complaint (and his supervisor officer) were both longtime
friends of Melissa Meyers and with her husband (Mark Meyers) who was the City administrator.
Mark Meyers conspired with the police chief and officers to intimidate Plaintiff and prevent him
from seeking further assistance or investigation. In subsequent months, substantial government
resources were used to continue a corresponding campaign of retaliation against Plaintiff through
a petition for a stalking PPO against Plaintiff.

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      In 2015, a new police chief was appointed (Aubrey Jon Gale). Plaintiff submitted a formal
written complaint to the Chief Gale describing what had occurred under the previous Chief’s
supervision. The complaint identified substantial evidence of corruption and civil right
violations.
      Chief Gale immediately began conspiring with Mark Meyers, the former police chief, the
mayor, the city attorney and others who were named in the citizen complaint. To silence
Plaintiff, City officials worked in concert with Melissa Meyers and the Bolhouse Defendants to
place Plaintiff in fear of retaliatory arrest by local law enforcement and prosecute false claims of
aggravated stalking and criminal contempt against Plaintiff. Chief Gale allowed his department
to illegally place a “Stalking PPO” entry in the LEIN database against Plaintiff, knowing that the
presiding judge had declined two requests to enter an order authorizing such an entry.
     The Bolhouse attorneys arranged a meeting just prior to the hearing on criminal contempt
charges. They informed Plaintiff that a number of influential government officials were standing
in the hall to support their efforts to have Plaintiff jailed for 30 days, and suggested that Plaintiff
could avoid incarceration if he entered an agreement whereby he would drop all claims against
Melissa Meyers, Mark Meyers and other Norton Shores Defendants. The concerted effort to
silence Plaintiff continued on for several months after this hearing until Plaintiff finally obtained
an order directing Norton Shores to remove the Stalking PPO entry from the LEIN database.

Norton Shores Defendants: The Norton Shores Defendants are composed of the City of Norton
Shores; Gary Nelund (Mayor); Daniel Shaw (Chief of Police); Mark Meyers (City Manager);
Douglas Hughes and William Hughes, PLLC (attorneys in private practice who serve as Norton
Shores’ City Attorney); and Sgt. Matthew Rhyndress and Officer Michael Wassilewski (police
officers with Norton Shores Police Department). All of the Norton Shores’ Defendants deny they
conspired, had any agreement with anyone or engaged in any common plan or scheme to
retaliate against Plaintiff in any manner for Plaintiff’s exercise of Plaintiff’s constitutional rights.
They further deny they had any type of agreement or conspiracy to commit the state law torts
Plaintiff alleges, or they engaged in any actions to commit any state tort which Plaintiff alleges.
They have raised as affirmative defenses that they are entitled to dismissal of federal claims on
the basis of qualified immunity, that Plaintiff’s state law claims are barred by Michigan’s
Government Immunity Act, and some of Plaintiff’s claim may be barred by expiration of statute
of limitations.

Defendant Melissa Meyers: Defendant Melissa Meyers (“Meyers”) denies all of the Plaintiff’s
claims as untrue; there was no conspiracy and their conduct was not in any way tortious or
unlawful. The background of the case started because Meyers was representing the ex-wife of
the Plaintiff Daniel Rudd (“Rudd”) in a custody matter which was proceeding in the Muskegon
County Circuit Court (“the Custody Matter”). Rudd inappropriately showed up a Meyers’ home
during the Custody Matter searching for his children, and accused Meyers of abetting his ex-wife
in keeping his children from him. Meyers, alarmed and upset that Rudd came to her home, and


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fearful of further inappropriate contact by Rudd, requested a PPO, which was granted by Hon.
Gregory Pittman (“the PPO Matter”). Sometime after the PPO was granted, and Meyers joined
the Bolhouse, Hofstee, & McLean (f.k.a Bolhouse, Baar, & Hofstee PC) (“the Firm”). Attorney
Michelle McLean (“McLean”) and the Firm then appeared in the PPO representing Meyers, and
McLean appeared and began representing Rudd’s ex-wife in the Custody Matter as well. While
the PPO was in place, Rudd showed up Meyers’ children’s soccer game and appeared within
Meyers’ sight, causing her to fear for both her and her children’s safety. Meyers then requested
that McLean seek enforcement of the PPO against Rudd. Prior to the hearing on the issue of
enforcement of the PPO seeking contempt, Baar and McLean met with Rudd and engaged in
settlement discussions, with the goal of getting the Custody and PPO matters resolved.
Eventually, the PPO matter was resolved, and Meyers and McLean got out of the Custody
Matter. Two years later, Rudd filed this case. All issues in this case are disputed. Rudd’s
Complaint fails to plead and/or establish many critical elements of each of Rudd’s claims, and
Rudd uses conclusions to support other elements; thus, the Complaint should be dismissed
pursuant to Fed. R. Civ. P. 12(b)(6), and 12(c). It should also be dismissed pursuant to Rule 56
re: expiration of statute of limitations. Meyers has raised several affirmative defenses including
but not limited to: litigation privilege, failure to state a claim, statute of limitations, res judicata,
issue preclusion/claim preclusion, Meyers is not a state actor/claims do not apply to Meyers,
failure to mitigate, doctrine of unclean hands, and collateral estoppel.

Bolhouse Defendants (McLean, Baar, and firm Bolhouse, Hofstee & McLean PC (f.k.a
Bolhouse, Baar, & Hofstee PC): The Bolhouse Law Defendants are attorney Michelle McLean
(“McLean”), attorney Joel Baar (“Baar”), and the law firm of Bolhouse, Hofstee, & McLean PC
(formerly, Bolhouse, Baar, & Hofstee PC (“the Firm”) hereafter, collectively “the Bolhouse
Defendants”). The Bolhouse Defendants deny all of the Plaintiff’s claims as untrue; there was no
conspiracy and their conduct was not in any way tortious or unlawful. The background of the
case started because attorney Melissa Meyers (“Meyers”) was representing the ex-wife of the
Plaintiff Daniel Rudd (“Rudd”) in a custody matter which was proceeding in the Muskegon
County Circuit Court (“the Custody Matter”). Rudd inappropriately showed up a Meyers’ home
during the Custody Matter searching for his children, and accused Meyers of abetting his ex-wife
in keeping his children from him. Meyers, alarmed and upset that Rudd came to her home, and
fearful of further inappropriate contact by Rudd, requested a PPO, which was granted by Hon.
Gregory Pittman (“the PPO Matter”). Sometime after the PPO was granted, and Meyers joined
the Firm. McLean and the Firm then appeared in the PPO representing Meyers, and McLean
appeared and began representing Rudd’s ex-wife in the Custody Matter as well. While the PPO
was in place, Rudd showed up Meyers’ children’s soccer game and appeared within Meyers’
sight, causing her to fear for both her and her children’s safety. Meyers then requested that
McLean seek enforcement of the PPO against Rudd. Prior to the hearing on the issue of
enforcement of the PPO seeking contempt, Baar and McLean met with Rudd and engaged in
settlement discussions, with the goal of getting the Custody and PPO matters resolved.


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Eventually, the PPO matter was resolved, and Meyers and McLean got out of the Custody
Matter. Two years later, Rudd filed this case. All issues in this case are disputed. Rudd’s
Complaint fails to plead and/or establish many critical elements of each of Rudd’s claims, and
Rudd uses conclusions to support other elements; thus, the Complaint should be dismissed
pursuant to Fed. R. Civ. P. 12(b)(6), and 12(c). It should also be dismissed pursuant to Rule 56
re: expiration of statute of limitations. The Bolhouse Defendants have raised several affirmative
defenses including but not limited to: litigation privilege, failure to state a claim, statute of
limitations, res judicata, issue preclusion/claim preclusion, the Bolhouse Defendants are not state
actors/claims do not apply to Bolhouse Defendants, failure to mitigate, doctrine of unclean
hands, and collateral estoppel.

5. Prospects of Settlement: There have not yet been any settlement negotiations.

       Plaintiff: Plaintiff Rudd seeks damages which include: compensatory damages
       (economic and non-economic), exemplary damages, and punitive damages. Plaintiff also
       seeks an award of interest, costs and attorney fees. Economic losses are estimated to
       range from $240,000 to $510,000. Plaintiff is unable provide a useful estimate regarding
       non-economic, exemplary and punitive damages. Plaintiff believes that prospects of
       settlement are hindered by the nature of the misconduct which is alleged against
       government officials. Some individual defendant may have varying levels of liability,
       but individual settlements may be discouraged by pressure to maintain a unified defense.
       Plaintiff is concerned that there may be some areas of conflicted interest in group
       representation. For instance, Attorney McLean represents her own interests as a
       party/witness while simultaneously acting as counsel for her law firm, and for Joel Baar
       who is no longer with the firm.

       All Defendants: All Defendants are in agreement and do not believe that there is a
       possibility of settlement.

6. Pendent State Claims:

       At this time, the following pendent state claims have not been dismissed: Malicious
       Prosecution, Abuse of Process, and Intentional Infliction of Emotional Distress. The
       claims arise from the same set of facts as the constitutional claims. Plaintiff
       acknowledges that some of these claims will be dismissed as it pertains to some of the
       defendants (including the City and individuals sued in their official capacity). Plaintiff
       intends to clarify further when moving for leave to file his first amended complaint.

       Objections By the Bolhouse Law Defendants: Plaintiff’s Complaint fails to plead
       and/or establish many critical elements of each of his claims, and he uses conclusions to
       support other elements; thus, the Complaint should be dismissed pursuant to Fed. R. Civ.
       P. 12(b)(6), and 12(c). It should also be dismissed pursuant to Rule 56 re: expiration of
       statute of limitations. The Bolhouse Defendants have raised several affirmative defenses

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       including but not limited to: litigation privilege, failure to state a claim, statute of
       limitations, res judicata, issue preclusion/claim preclusion, the Bolhouse Defendants are
       not state actors/claims do not apply to Bolhouse Defendants, failure to mitigate, doctrine
       of unclean hands, and collateral estoppel.

       Objections By Defendant Melissa Meyers: Defendant Melissa Meyers concurs with
       the Bolhouse Law Defendants’ statement in this section.


7. Joinder of Parties and Amendment of Pleadings:

Plaintiff: believes that the deadline for amendment and joinder should be December 14, 2018.
This suit involves complex claims with conspiracy elements. For example, Plaintiff’s original
complaint alleged that F/Lt. Chris McIntire of the Michigan State Police played an important role
in this conspiracy. On 8/8/18, McIntire was dismissed from the suit because Plaintiff had not
adequately plead McIntire’s retaliatory acts or participation in the conspiracy. Plaintiff is
preparing an amended complaint presents a more thorough factual basis for the claims against
McIntire and the other Defendants. Some of these facts are supported by public documents
which have only recently been released. Per the obligations set forth under Rule 11(b) Plaintiff, a
non-lawyer who cannot afford to hire an attorney, is striving to ensure that every claim is
asserted in good-faith after diligent inquiry.

As there has been not yet been any opportunity for discovery, and no deadline for amendment
has been set, Plaintiff believes that further opportunity for amendment, by leave of the court is
reasonable. Defendants will have opportunity to challenge the viability of claims asserted, and
identify any possible prejudice, prior to the Court’s determination on granting leave to amend.
At this early stage of the proceedings, there would be ample time for Defendants to engage in
further discovery and/or to file dispositive motions regarding any added claims added by leave of
the Court.

All Defendants: The Defendants are in agreement and oppose any further amendment or joinder.

8. Disclosures and Exchanges:

(a) The parties propose the following schedule for Rule 26(a)(1) disclosures:

       Plaintiff’s initial disclosures to Defendants by October 13, 2018.
       Defendant’s initial disclosures to Plaintiff by November 13, 2018.

(b) & (c) Expert Witness Disclosures and Reports:

       Plaintiff: if expert testimony is required, expert disclosures should occur and written
       reports (if deemed necessary) at least 90 days before trial. As the facts of the case
       develop, the parties may need to seek further agreements or judicial rulings on this
       matter.



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      Norton Shores Defendants: The Norton Shores defendants do not see the need for
      expert witnesses in this lawsuit.

      Bolhouse Law Defendants: Plaintiff has placed his mental health into controversy with
      his claim that McLean intentionally inflicted emotional distress. Thus, a mental health
      expert may be needed to dispute that any damages support Plaintiff’s claim after a review
      of Plaintiff’s medical and mental health records and after psychological testing of
      Plaintiff. As the case develops, the Bolhouse Defendants believe that an exchange of
      expert reports pursuant to Rule 26(a)(2) would be appropriate.

      Defendant Melissa Meyers: Defendant Melissa Meyers concurs with the Bolhouse Law
      Defendants’ statement in this section.

(d) The parties have agreed to make available the following documents without the need of
a formal request for production:

      The parties are unable to agree on voluntary production of documents at this time. The
      Bolhouse Defendants state that practically all of the documents that Plaintiff would seek
      would be protected by attorney-client privilege or by doctrine of attorney-work product,
      and so the Court will need to weigh in on the extent of further discovery.

9. Discovery: The parties believe that all discovery proceedings can be completed by March
15, 2019. The parties recommend the following discovery plan:

      The parties generally recommend the following discovery plan: The parties will engage
      in fact discovery where they will explore claims and defenses. Unless otherwise ordered
      by the Court for good cause the parties will adhere to the presumptive discovery
      limitations as set forth in FED. R. CIV. P. 30(d): Interrogatories will be limited to 25 per
      party, including subparts; discovery depositions will be limited to no more than 10 per
      side; the length of depositions should be limited to 1 day of seven hours.

      If a party wishes to expand the number of interrogatories allowable under Fed. R. Civ. P
      33(a)(1), the number of depositions allowable under Fed. R. Civ. P. 30(a)(2)(A)(i), or the
      duration of a deposition under Fed. R. Civ. P. 30(d)(1), the parties will first endeavor to
      resolve the matter in good faith prior to seeking leave of the Court.

      It may be desirable to schedule another conference and/or revisit the discovery plan in the
      following circumstances:
      (a) a claim or claims are added or dismissed from the suit.
      (b) a party or parties are joined or dismissed from the suit.
      (c) when Plaintiff retains counsel.
      (d) after determinations on dispositive motions are resolved.

      The Parties specifically identify the following areas of discovery which are anticipated at
      this time while reserve the right to discover material and/or testimony relating to the other
      relevant subject areas that may arise during the discovery period.

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       Plaintiff: seeks to identify information and facts which establish or lead to admissible
       evidence regarding: The claims and defenses set forth by each defendant (including
       questions related to various forms of state and federal immunity); shared conspiratorial
       objectives, concerted action, malice, lack of mistake, common plan or scheme, conduct
       which forms a discernable pattern (as opposed to parallel conduct or coincidence);
       Defendants’ treatment of similar circumstances and/or similarly situated individuals;
       training, policies, and customs of the NSPD; the identification of witnesses or evidence
       pertaining to the controversy; representations and statements offered to others in regard to
       Plaintiff or the circumstances of this suit.

       Bolhouse Law Defendants: The Bolhouse Defendant seek evidence in support of their
       defenses in this case, evidence that shows that Plaintiff has not been damaged in any way;
       evidence to impeach Plaintiff or any of his witnesses, and evidence which contradicts
       Plaintiff’s claims. Also, the “evidence” that Plaintiff seeks does not exist, because the
       claims are not supported factually or legally. The Bolhouse Defendants state that
       practically all of the documents that Plaintiff would seek would be protected by attorney-
       client privilege or by doctrine of attorney-work product, and so the Court will need to
       weigh in on the extent of further discovery.


       Defendant Melissa Meyers: Melissa Meyers seeks evidence in support of her defenses
       in this case, evidence that shows that Plaintiff has not been damaged in any way;
       evidence to impeach Plaintiff or any of his witnesses, and evidence which contradicts
       Plaintiff’s claims. Also, the “evidence” that Plaintiff seeks does not exist, because the
       claims are not supported factually or legally. Meyers also states that practically all of the
       documents that Plaintiff would seek would be protected by attorney-client privilege or by
       doctrine of attorney-work product, and so the Court will need to weigh in on the extent of
       further discovery.

       Norton Shores Defendants: It is the understanding of Norton Shores Defendants
       that all Defendants are going to be filing separate Rule 12 Motions to Dismiss soon.
       It is recommended that discovery be stayed until such time that those motions are
       decided by the Court. Otherwise, Norton Shores Defendants agree with the scope of
       discovery needed as set forth by the Bolhouse Law Defendants.



10. Disclosure or Discovery of Electronically Stored Information: The parties have discussed
the production of electronically stored information and believe that an Order Relating to the
Discovery of Electronically Stored Information is likely to be necessary. The Bolhouse
Defendants will need a protective order as much if not all of the information that Plaintiff seeks
will be subject to privilege or the doctrine of attorney work product.




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       The parties agree that:

       (a) ESI to be preserved is likely to include certain emails, other forms of electronic
       communication, and other types of digital records which relate to the subject matter of
       the suit.
       (b) the parties may utilize experts in the field of search and production of ESI for
       developing the terms and proposed ESI production protocols.
       (c) The parties will confer in good faith regarding ESI protocols and the format in which
       ESI will be produced.
       (d) If the parties are unable to reach an agreement the matter will be submitted to the
       court as allowed by the court rules.

11. Assertion of Claims of Privilege or Work−Product Immunity After Production:

       The Parties Generally Agree to the Following:
       In the event any party asserts that any item subject to claims of privilege or work product
       immunity was inadvertently produced during discovery, the party making such claim
       shall promptly notify counsel for all other parties. The party then asserting such
       inadvertent disclosure shall then , absent an agreement with the other parties, file an
       appropriate motion with the court within 30 days of discovery. Until the passing of said
       30 days, and an Order entered by the court if a motion has timely been filed, all other
       parties shall sequester and shall not further propagate, release or otherwise disclose the
       item(s) claimed to have been inadvertently disclosed.

       The Bolhouse Defendants and Attorney Meyers state that practically all of the documents
       that Plaintiff would seek would be protected by attorney-client privilege or by doctrine of
       attorney-work product, and so the Court will need to weigh in on the extent of further
       discovery.

12. Motions: The parties acknowledge that W.D. Mich. LCivR 7.1(d) requires the moving party
to ascertain whether the motion will be opposed, and in the case of all nondispositive motions,
counsel or pro se parties involved in the dispute shall confer in a good−faith effort to resolve the
dispute. In addition, all non-dispositive motions shall be accompanied by a separately filed
certificate.

       All parties anticipate filing dispositive motions. The parties anticipate that all rule 56
       motions will be filed by30 days after the close of discovery.

13. Alternative Dispute Resolution: In the interest of conserving judicial resources, the parties
acknowledge that the Court will require the parties to participate in some form of Alternative
Dispute Resolution.

       Norton Shores Defendants: The Norton Shores defendants believe this is the unusual
       case in which ADR should not be ordered




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       Plaintiff: This case has unique circumstances which make all forms of ADR undesirable.
       Plaintiff does not believe ADR would be productive, especially at this point in the
       litigation. It is possible that some form of ADR should be considered at a future point in
       the litigation when claims have been narrowed and/or developed further AND after
       Plaintiff has obtained representation.

       Defendant Melissa Meyers: Mrs. Meyers believes this is the unusual case in which
       ADR should not be ordered.

       Bolhouse Law Defendants: The Bolhouse Defendant will participate in ADR in the
       form voluntary facilitative mediation if the Court deems it appropriate and so orders it,
       but they do not believe that it will be beneficial in this case.

14. Length of Trial: Counsel estimates the trial will last approximately 8 days total, allocated as
follows: 4 days for Plaintiff's case, and 4 days for Defendant's case.

15. Electronic Document Filing System: The parties acknowledge that Local Civil Rule
5.7(a) requires attorneys to file and serve all documents electronically, by means of the Court's
CM/ECF system, unless the attorney has been specifically exempted by the Court for cause or a
particular document is not eligible for electronic filing under the rule. The Court expects all
counsel to abide by the requirements of this rule. Plaintiff has been granted e-filing privileges
and paper service to Plaintiff is not required per this Court’s order (ECF No. 22).

16. Other: Set forth any special characteristics that may warrant extended discovery, accelerated
disposition by motion, or other factors relevant to the case.




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The undersigned have conferred in good faith and approved the foregoing report.

Dated: September 10, 2018                          /s/ Daniel W. Rudd
                                                   Plaintiff (Pro Se)
                                                   daniel@stock20.com

Dated: September 10, 2018                          /s/ Michelle M. McLean
                                                   Michelle M. McLean (P71393)
                                                   Attorney for Defendants M. McLean
                                                   J. Baar & Bolhouse, Hofstee & McLean PC
                                                   michellem@bolhouselaw.com

Dated: September 10, 2018                          /s/ Robert A. Callahan
                                                   Robert A. Callahan (P47600)
                                                   Attorney for Defendants City of Norton
                                                   Shores, Mayor Nelund, Jon Gale, Shaw
                                                   Rhyndress, Wassilewski, Mark Meyers,
                                                   Douglas Hughes and William Hughes
                                                   rcallahan@plunkettcooney.com

Dated: September 10, 2018                          /s/ Steven Daniel Schultz
                                                   Steven Daniel Schultz (P63177)
                                                   Attorney for Defendants Melissa Meyers
                                                   sschultz@tanisschultz.com




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